
2 N.Y.3d 780 (2004)
THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
v
THOMAS HANLEY, Appellant.
Court of Appeals of the State of New York.
Submitted May 3, 2004.
Decided May 6, 2004.
*781 Motion to waive certain requirements of the Rules of Practice of the Court of Appeals (22 NYCRR part 500) denied. The appeal may, however, be prosecuted upon the original record and 20 copies each of appellant's Court of Appeals brief and appendix pursuant to section 500.5 (a) (1) of the Rules of Practice of the Court of Appeals (22 NYCRR 500.5 [a] [1]).
